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UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA
SONORO INVEST S.A., a Panamanian Case No. 2:15-cv-2286
corporation,
Plaintiff,
. , ORDER
Vv. PRELIMINARILY APPROVING
SETTLEMENT AND PROVIDING FOR
ROBERT MILLER, an individual; ANDREW NOTICE
SHERMAN, an individual; COSTAS TAKKAS, an
individual; and STEPHEN GOSS, an individual, ECF No. 148
Defendants,
and
ABAKAN, INC., a Nevada corporation,
Nominal Defendant.

 

 

 

 

WHEREAS, Plaintiff in the above-captioned shareholder derivative action has made an
unopposed application pursuant to Fed.R.Civ.P. 23.1(c) for an order: (i) preliminarily approving al

settlement of this action in accordance with the Settlement Agreement dated August 10, 2017, which

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sets forth the terms and conditions for the proposed settlement and dismissal of this action with
prejudice, and (ii) approving the form and content of the Notice to be sent to current Abakan|
shareholders directly via first-class mail;

WHEREAS, all capitalized terms contained herein shall have the same meanings as set forth
in the Settlement Agreement (in addition to the capitalized terms therein); and

WHEREAS, the Court has reviewed and considered the Settlement Agreement;

NOW, THEREFORE, IT IS HEREBY ORDERED:

1. The Court does hereby preliminarily approve, subject to further consideration at the
Settlement Hearing described below, the Settlement Agreement annexed as Exhibit A to Plaintiffs
unopposed motion, including the terms and conditions for the settlement and dismissal with prejudice
of this action.

2. A hearing (“Settlement Hearing”) shall be held before this Court on
LEC - / 4 , 2017, at q AM: to determine: (i) whether the terms and conditions of
the Settlement Agreement are fair, reasonable, and adequate to current Abakan shareholders,
(ii) whether a final order and judgment approving the Settlement Agreement should be entered, and
(iii) whether the reimbursement of the requested attorneys’ fees and costs to Plaintiff's counsel
should be finally approved.

3. The Court approves, as to form and content, the Notice annexed as Exhibit B to
Plaintiff's unopposed motion, and finds that the distribution of such notice substantially in the form|
set forth in this Order meets the requirements of Fed.R.Civ.P. 23.1 and due process, and is the best
notice practicable under the circumstances and shall constitute due and sufficient notice to all persons
entitled thereto.

4. Within ten (10) days of the Court’s entry of this Order, Abakan shall cause the Notice
to be sent to current Abakan shareholders directly via first-class mail, the cost of which shall be
borne by Abakan’s insurance carrier.

5. All papers in support of final approval of the settlement shall be filed with the Court at
least thirty (30) days prior to the Settlement Hearing, and any reply papers shall be filed with the’

Court at least seven (7) days prior to the Settlement Hearing.

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6. Any current Abakan shareholder may object and/or appear and show cause, if such
shareholder has any concern why the proposed settlement should not be approved as fair, reasonable,
and adequate, or why a final order and judgment should not be entered thereon, or why the
reimbursement of the requested attorneys’ fees and costs to Plaintiff's counsel should not be finally
approved; provided, however, unless otherwise ordered by the Court, no current Abakan shareholder]
shall be heard or entitled to contest the approval of the terms and conditions of the settlement, or if
approved, a final order and judgment to be entered thereon approving the same, or the fee award,
unless that shareholder has, at least fourteen (14) days prior to the Settlement Hearing: (i) filed with
the Clerk of Court a written objection to the settlement setting forth (a) the nature of the objection,
(b) proof of ownership of Abakan stock through the date of the Settlement Hearing, including the
number of Abakan shares and the date of purchase, (c) any documentation in support of such|
objection, and (ii) if a current Abakan shareholder intends to appear and requests to be heard at the
Settlement Hearing, such shareholder must have, in addition to the foregoing requirements, filed with
the Clerk of Court (a) a written notice of such shareholder’s intention to appear, (b) a statement that
indicates the basis for such appearance, and (c) the identities of any witnesses the shareholder intends
to call at the Settlement Hearing and a statement as to the subjects of their testimony. If a current
Abakan shareholder files a written objection and/or written notice of intent to appear, such|
shareholder must also simultaneously serve copies of such notice, proof, statement, and
documentation, together with copies of any other papers or briefs such shareholder files with the

Court, either by hand delivery or first class mail on each of the following counsel of record:

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Any current Abakan shareholder who does not make their objection in the manner provided
herein shall be deemed to have waived such objection and shall forever be foreclosed from making
any objection to the fairness, reasonableness, or adequacy of the settlement as incorporated in the
Settlement Agreement, unless otherwise ordered by the Court, and shall otherwise be bound by the
final order and judgment to be entered and the releases to be given.

7. All current Abakan shareholders shall be bound by all orders, determinations, and|
judgments in the action concerning the settlement.

8. The Court reserves the right to adjourn the date of the Settlement Hearing or modify
any other dates set forth herein without further notice to current Abakan shareholders, and retains
jurisdiction to consider all further applications arising out of or in connection with the settlement.
The Court may approve the settlement and any of its terms, with such modifications as may be
agreed to by the Parties, if appropriate, without further notice to current Abakan shareholders.

9. In accordance with the prior Order on Stipulation (ECF No. 147), the Court hereby

extends the stay of this action, including all deadlines and discovery, until such time as the Court

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enters an order on Plaintiff's motion for final approval of the settlement. In the event the Court

denies Plaintiff's motion for final approval of the settlement, the parties will jointly seek the entry of

a new scheduling order, if necessary.

IT IS SO ORDERED:

UNITED STATES DISTRICT JUDGE

DATED: } i

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